Case 1:20-cv-02579-BCM Document 23 Filed 10/23/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

STANISLAW KOCZWARA, 20 Civ. 2579 {JGK)

Plaintiff, ORDER

 

- against -

NATIONWIDE GENERAL INSURANCE
COMPANY,

Defendant.

 

JOHN G. KOELTL, District Judge:

The parties are directed to address all correspondence to
Magistrate Judge Barbara C. Moses. As stated in the Order issued
on June 26, 2020 at docket no. 14, the case was referred to Judge
Moses for all purposes (including trial). The Court notes that the
parties agreed to refer the Case to the Magistrate Judge for all
purposes including trial (docket no. 13), but have no yet signed
and submitted the consent form. A copy of the form is attached.
The parties should sign and submit that form as soon as possible.
SO ORDERED.

Dated: New York, New York
October 23, 2020

OU ele

/ John G. Koeltl
tniited States District Judge

 

 

USDS SDNY
DOCUMENT
ELECTRONICALLY FILED

DOC #: rh
DATE FILED: -

 

 

o[r3/2020

 

 

 

 

 

 

 

 
Case 1:20-cv-02579-BCM Document 23 Filed 10/23/20 Page 2 of 2

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York

 

 

 

ce )
Plaintiff )
v ) Civil Action No.
)
Defendant )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge’s availability, A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry ofa final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent,

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Parties’ printed names Signatures of parties or attorneys Dates

 

 

 

 

Reference Order

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:

 

District Judge’s signature

 

Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.

 
